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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
DANIEL ZAGORIA, on behalf of himself and
all others similarly situated,

                                   Plaintiff,
                 -against-                                             20 CIVIL 3610 (GBD)(SLC)

                                                                           JUDGMENT
NEW YORK UNIVERSITY,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Decision Order dated March 17, 2021, Defendant's motion to

dismiss is GRANTED.

Dated: New York, New York

          March 17, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
